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     Attorneys for Plaintiffs,
16   MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
17                   IN THE UNITED STATES DISTRICT COURT
18                FOR THE CENTRAL DISTRICT OF CALIFORNIA
19                                SOUTHERN DIVISION
20   MASIMO CORPORATION,                     ) Case No. 8:20-cv-00048-JVS-JDE
     a Delaware corporation; and             )
21   CERCACOR LABORATORIES, INC.,            ) MASIMO'S WITNESS LIST
     a Delaware corporation                  )
22                                           )
                 Plaintiffs,                 ) Pre-Trial Conf.:   10/28/2024
23                                           ) Trial:             11/5/2024
           v.                                )
24                                           ) Hon. James V. Selna
     APPLE INC., a California corporation    )
25                                           )
                 Defendant.                  )
26                                           )
                                             )
27                                           )
28
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1              Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc. (“Masimo”)
2    provides this First Amended Witness List.
3              Masimo reserves the right to amend its list of witnesses as the parties continue
4    pre-trial preparation and in view of events at trial or other developments, including
5    evidentiary rulings or other rulings by the Court. Masimo also reserves the right not to
6    call any particular witness (either live or by deposition) set forth in the list below, or to
7    present by deposition a witness listed as live below. For witnesses identified as
8    testifying by deposition, Masimo reserves the right to call such witness to testify live if
9    such witness is made available to do so. The identification of a witness on this list is not
10   an admission that the witness’s testimony is admissible if called by Defendant Apple
11   Inc. (“Apple”). Masimo also reserves its right to object to any witness or testimony that
12   is objectionable or inadmissible. The parties have previously provided the address,
13   telephone number and/or contact information for each witness.
14             Masimo identifies the following Masimo witnesses and Masimo experts that it
15   intends to call live.
16             1.    David Dalke
17             2.    Mohamed Diab
18             3.    Gerry Hammarth
19             4.    Joe Kiani
20             5.    Jeff Kinrich
21             6.    Vijay Madisetti
22             7.    Tracy Miller
23             8.    Bilal Muhsin
24             9.    Jeroen Poeze
25             10.   Stephen Scruggs
26             Masimo identifies the following Masimo witnesses it may call only if the need
27   arises.
28             1.    Ammar Al-Ali
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1          2.     Kristin Budreau
2          3.     Rick Fishel
3          4.     Greg Olsen
4          5.     James Pishney
5          6.     Richard Priddell
6          7.     Anand Sampath
7          8.     Robert Smith
8          9.     Phil Weber
9          10.    Walt Weber
10         11.    Crystal Wei
11         12.    Micah Young
12         Masimo identifies the following third-party witnesses it intends to call live, and
13   reserves the right to present each witness by deposition if the witness does not appear
14   pursuant to Masimo’s trial subpoena.
15         1.     Steve Hotelling
16         2.     Marcelo Lamego
17         3.     Robert Mansfield
18         Masimo identifies the following Apple witnesses that Masimo intends to examine
19   live during Apple’s case-in-chief, with the understanding that Masimo may keep its
20   case-in-chief open and will have a full opportunity to question the below witnesses about
21   all topics when Apple calls the witness, without regard to the scope of the initial direct
22   examination. Masimo reserves the right to call the below witnesses live or by deposition,
23   including issuing trial subpoenas if Apple declines to call such witness live or refuses to
24   agree that Masimo may examine the witnesses outside the scope of direct.
25         1.     Ueyn Block
26         2.     Diedre Caldbeck
27         3.     Chinsan Han
28         4.     Brian Land
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1          5.     Adrian Perica
2          6.     Tao Shui
3          7.     Steve Waydo
4          8.     Dong Zheng
5          9.     Michael O’Reilly
6          Masimo further identifies the following Apple or third-party witnesses that
7    Masimo may call by deposition only in lieu of live testimony. Masimo reserves the right
8    to call these witnesses live if the parties do not agree to waive the unavailability
9    requirements of Rule 32.
10         1.     Louis Bokma
11         2.     Aditya Dua
12         3.     Jack Fu
13         4.     Michael Jaynes
14         5.     Eric Jue
15         6.     Alex Kanaris
16         7.     Eugene Kim
17         8.     Saahil Mehra
18         9.     Afshad Mistri
19         10.    Divya Nag
20         11.    Denby Sellers
21         12.    David Tom
22         13.    Vivek Venugopal
23         14.    Jeff Williams
24         Masimo further reserves the right to amend its list pending the parties’ pre-trial
25   discussions and Apple’s final witness list. In addition to the witnesses identified above,
26   Masimo reserves the right to call anyone appearing on Apple’s Witness List.
27   ///
28   ///
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1                                         Respectfully submitted,
2                                         KNOBBE, MARTENS, OLSON & BEAR, LLP
3
4    Dated: October 15, 2024              By: /s/ Jared C. Bunker
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5                                              Stephen C. Jensen
                                               Sheila N. Swaroop
6                                              Brian C. Horne
                                               Brian C. Claassen
7                                              Jared C. Bunker
                                               Kendall M. Loebbaka
8                                              Mark D. Kachner
                                               Adam B. Powell
9                                              Daniel P. Hughes
10                                                Attorneys for Plaintiffs
11                                                MASIMO CORPORATION and
                                                  CERCACOR LABORATORIES, INC.
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